Case 1:20-cr-00174-WJM Document 19 Filed 12/15/20 USDC Colorado Page 1 of 7




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Criminal Case No. 1:20-cr-00174-WJM

UNITED STATES OF AMERICA,
       Plaintiff,
v.
RYAN KAMADA,
       Defendant.


 DEFENDANT’S OBJECTION TO PRESENTENCE REPORT FOR NOT INCLUDING A
  MITIGATING ROLE ADJUSTMENT FOR DEFENDANT KAMADA AS A MINIMAL
              PARTICIPANT UNDER U.S.S.G. SECTION 3B1.2(A)

       Defendant, Ryan Kamada, by and through counsel, Michael L. Bender and T. Markus Funk

of the law firm Perkins Coie LLP, hereby submits an objection to the presentence report and states

as follows.

       1.      Defendant Kamada has entered a stipulated plea of guilty to the crime of

Obstruction of Proceedings in violation of 18 U.S.C. § 1505, which is the crime he committed.

Plea Agreement, Doc. 14.

       2.      The facts outlined below were, unless indicated otherwise, taken from the Plea

Agreement and reflect what the parties agreed to, and represented to this Court, in or about June

2020. Plea Agreement ¶ 9 (informing the Court that the Plea Agreement contains the agreed-upon

factual basis for the offense).

       3.      Turning to the circumstances of the offense, when approached by Weld County

Drug Task Force (“WCDTF”) agents seeking authorization to search the target’s premises,

Defendant Kamada, realizing that he knew the target of the warrant because they grew up in the
Case 1:20-cr-00174-WJM Document 19 Filed 12/15/20 USDC Colorado Page 2 of 7




same community, promptly recused himself, referred the WCDTF agent to another judge, and did

not read or review the affidavit supporting the search warrant. PSIR ¶ 18; Plea Agreement ¶ 12,

19.

        4.       Subsequently, Defendant Kamada told his friend and mentee, Geoffrey Chacon,

that the target was the subject of a drug investigation. PSIR ¶ 19; Plea Agreement ¶ 20.

        5.       Defendant Kamada provided this information to Chacon, who Defendant Kamada

knew associated with the target, solely to protect Chacon so that Chacon would stay away from

the target and not be subject to potential criminal prosecution. PSIR ¶¶ 20–21; Plea Agreement ¶¶

21–22 (“Defendant, who at the time served as a personal and professional mentor to Chacon, was

worried that, because of Chacon’s past questionable associations and bad decisions (including

reported cocaine use when Chacon was in high school), Chacon might have fallen, or could fall,

into bad habits, including drug use and adultery.”).

        6.       Defendant Kamada received no benefit whatsoever by telling Chacon this

information, and assumed that Chacon, who he at the time viewed like a younger brother, would

not share this information with the target or anyone else. See PSIR ¶¶ 25; Plea Agreement ¶ 26;

Sentencing Recommendation, Doc. 17-1, at R-3 (“To the defendant’s credit, he does not appear to

have known that his friend was repeating the information to the person under investigation.

Additionally, it appears the defendant was more so looking out for his friend, so he did not get

caught up in the investigation.”).

        7.       Contrary to what Defendant Kamada subjectively anticipated, however, Chacon in

fact informed the target of the pending investigation, causing the target to change his pattern of

criminal behavior and thereby interfering with the WCDTF investigation. PSIR ¶ 22; Plea


                                                -2-
 135308-0001/LEGAL150498289.1
Case 1:20-cr-00174-WJM Document 19 Filed 12/15/20 USDC Colorado Page 3 of 7




Agreement ¶ 23 (“Unbeknownst to the Defendant, Chacon shared the information the Defendant

provided to him concerning the investigation with [the target].”). In other words, Defendant

Kamada had no subjective knowledge that Chacon had provided this information to the target.

PSIR ¶¶ 22, 25; Plea Agreement ¶¶ 23, 26. In fact, Defendant Kamada assumed that Chacon

“would not share this sensitive information with the” target. PSIR ¶ 25; Plea Agreement ¶ 26

(emphasis added). Defendant Kamada only learned of Chacon’s conduct after law enforcement

contacted Kamada.

        8.       Defendant Kamada, in short, did not plan, manage, direct, understand, or even

become contemporaneously aware of a single step Chacon and the target took to interfere with the

WCDTF investigation. PSIR ¶ 24.        Per the Plea Agreement between the Government and

Defendant:

        Unbeknownst to the Defendant, Chacon shared the information the
        Defendant provided to him concerning the investigation with Drug Dealer . . . .

        Unbeknownst to the Defendant, but known by the Government, the information the
        Defendant provided Chacon . . . . caused Chacon and Drug Dealer to change their patterns
        of conduct and interfered with the WCDTF’s investigation.

Plea Agreement ¶¶ 23, 25 (emphasis added).

         9.      Although Defendant Kamada’s sharing of sensitive information was, by his own

admission, “inappropriate and reckless,” the Government and Probation Office, moreover, agree

that he had no subjective intent to interfere with the then-ongoing criminal investigation of the

target. See PSIR ¶¶ 21–22; Plea Agreement ¶¶ 22–23.

         10.     When, as here, a defendant is criminally liable only because his conduct was

“inappropriate and reckless,” and because he “reasonably should have foreseen” that his actions

could result in the adverse impacts the criminal proscription is designed to prevent, see Plea

                                                -3-
 135308-0001/LEGAL150498289.1
Case 1:20-cr-00174-WJM Document 19 Filed 12/15/20 USDC Colorado Page 4 of 7




Agreement ¶ 26, then such a defendant by definition cannot be characterized as anything other

than a “minimal participant in [the] criminal activity,” as provided by Section 3B1.2(a), and should

receive a 4-level mitigating role adjustment decrease to the base offense level. U.S.S.G. § 3B1.2,

cmt. n.3(A), 3(C), and 4.

         11.     As the Sentencing Commission put it, this adjustment is “not applicable unless

more than one participant was involved in the offense.” See U.S.S.G. § 3B1.2, cmt. n.2. Here, the

obstruction offense explicitly (and necessarily) involved at least one other person (namely,

Chacon). See Plea Agreement ¶ 23.

         12.     The Guidelines go on to provide that a

         defendant who is [1] accountable under §1B1.3 (Relevant Conduct) only for the conduct
         in which the defendant personally was involved and [2] who performs a limited function
         in the criminal activity may receive an adjustment under this guideline

Id. at cmt. n.3(A). In fact, even where a defendant played an “essential or indispensable role” in

the crime, he is still eligible for the Section 3B1.2 downward adjustment. United States v. Yurek,

925 F.3d 423, 445 (10th Cir. 2019).

        13.      Applying that standard here, Defendant Kamada, who undisputedly lacked

subjective knowledge of the true nature of what he was doing, through his “reckless” conduct was

by the parties’ admission simply the “but-for” cause of the chain of “criminal activity” (namely,

the obstruction knowingly and intentionally engaged in by Chacon).            Defendant Kamada,

therefore, only performed a “limited function,” as that term is defined through Application Note

3(C)’s “fact-based.” See U.S.S.G. § 3B1.2, cmt. n. 3(C) (requiring consideration of “the degree to

which the defendant understood the scope and structure of the criminal activity”; “the degree to

which the defendant participated in planning or organizing the criminal activity”; “the degree to


                                                 -4-
 135308-0001/LEGAL150498289.1
Case 1:20-cr-00174-WJM Document 19 Filed 12/15/20 USDC Colorado Page 5 of 7




which the defendant exercised decision-making authority or influenced the exercise of decision-

making authority; “the nature and extent of the defendant’s participation in the commission of the

criminal activity, including the acts the defendant performed and the responsibility and discretion

the defendant had in performing those acts”; and “the degree to which the defendant stood to

benefit from the criminal activity”). See also Yurek, 925 F.3d at 445 (“A defendant who was a

minimal or minor participant in criminal activity is eligible for a downward adjustment.”); United

States v. Diaz, 884 F.3d 911, 918 (9th Cir. 2018) (vacating and remanding for re-sentencing where

trial court failed to properly evaluate a downward adjustment pursuant to U.S.S.G. § 3B1.2 when

the defendant had gained little benefit from the crime and had a “limited understanding of the

overall ‘scope and structure of the criminal operation’”).

        14. When, as here, a defendant did not (1) understand the scope and structure of the

obstruction, (2) participate in the planning or organization of the obstruction, (3) exercise any

decision-making authority or influence such authority concerning the obstruction, and (4) did not

stand to benefit from the obstruction, the downward adjustment is appropriate. See U.S.S.G. §

3B1.2, cmt. n. 3(C).

        15.      Because the presentence report does not include this downward adjustment,

Defendant Kamada files this specific objection to the presentence report.




                                                 -5-
 135308-0001/LEGAL150498289.1
Case 1:20-cr-00174-WJM Document 19 Filed 12/15/20 USDC Colorado Page 6 of 7




  DATED this 15th day of December, 2020.
                                                 Respectfully submitted,

                                                 PERKINS COIE LLP


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                                           -6-
 135308-0001/LEGAL150498289.1
Case 1:20-cr-00174-WJM Document 19 Filed 12/15/20 USDC Colorado Page 7 of 7




                                 CERTIFICATE OF SERVICE

        I hereby certify that on December 15, 2020, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system which will send notification of such filing to the

following:

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                                                 -7-
 135308-0001/LEGAL150498289.1
